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 7
     FITNESS INTERNATIONAL, LLC
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11                      UNITED STATES DISTRICT COURT
12       CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
13

14   BEAZLEY UNDERWRITING, LTD.,              Case No. 8:21-cv-642-CJC
15           Plaintiff,                       NOTICE OF MOTION AND
          vs.                                 MOTION TO DISMISS OR STAY
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17   FITNESS INTERNATIONAL, LLC,              [Filed concurrently with Memorandum
                                              of Points, Declaration of Michael J.
18              Defendant.                    Finnegan, and Authorities, and
19                                            [Proposed] Order]
20                                            Date:     May 24, 2021
21                                            Time:     1:30 p.m.
                                              Dept:     Courtroom 9 B
22                                            Judge:    Hon. Cormac J. Carney
23                                            Trial Date: not set
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                                                        NOTICE OF MOTION AND MOTION TO
                                                                        DISMISS OR STAY
                                                                     Case No: 8:21-CV-642-CJC
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 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2         PLEASE TAKE NOTICE that on Monday, May 24, 2021, at 1:30 p.m, or as
 3   soon thereafter as the matter may be heard, in Courtroom 9B of the above-captioned
 4   Court, located at 411 West Fourth Street, Santa Ana, California 92701-4516, Defendant
 5   Fitness International, LLC (“Fitness”) will and hereby does move the Court for an order
 6   dismissing or staying the instant action.
 7         Fitness moves to dismiss or stay the Complaint filed by Plaintiff Beazley
 8   Underwriting, Ltd. (“Beazley”) pursuant to this Court’s discretion under the
 9   Declaratory Judgment Act or, in the alternative, to dismiss the Complaint for failure to
10   join a necessary party pursuant to Federal Rule of Civil Procedure 12(b)(7).
11         Beazley’s action should be dismissed or stayed pending resolution of Washington
12   state court proceedings. First, under Ninth Circuit precedent, every relevant factor
13   weighs against this Court exercising its discretionary jurisdiction over Beazley’s
14   Declaratory Judgment Act claim. Second, this action should be dismissed because
15   Beazley failed to join necessary and indispensable parties to its Complaint pursuant to
16   Federal Rule of Civil Procedure 19, to wit, the other ten insurers subscribed to Fitness’
17   2020/2021 Policy Year.
18         Fitness’ motion is based on this Notice, the accompanying Memorandum of
19   Points and Authorities, the declaration of Michael J. Finnegan and the exhibits attached
20   thereto, the proposed Order, any documents Fitness may subsequently file, all other
21   pleadings and papers on file, and any oral argument or other matter that may be
22   considered by the Court.
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                                                                NOTICE OF MOTION AND MOTION TO
                                                                                DISMISS OR STAY
                                                                             Case No: 8:21-CV-642-CJC
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 1         This motion is made following the conference of counsel pursuant to Local Rule
 2   7-3 which took place on April 19, 2021.
 3                                                   Respectfully submitted,
 4   Dated: April 26, 2021                           PILLSBURY WINTHROP SHAW
                                                     PITTMAN LLP
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 6
                                                          /s/ Michael J. Finnegan
 7
                                               By:        MICHAEL J. FINNEGAN
 8
                                                     Attorneys for Defendant
 9                                                   FITNESS INTERNATIONAL, LLC
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                                                                              DISMISS OR STAY
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